     3:05-cr-00651-MBS        Date Filed 10/19/16      Entry Number 877-1         Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

UNITED STATES OF AMERICA                      )   CRIMINAL NO.: 3:05-651-MBS
                                              )
                                              )
                 vs.                          )
                                              )
ANTONIO CHERRY                                )


            GOVERNMENT’S MEMORANDUM IN SUPPORT OF MOTION TO
                   DISMISS/MOTION FOR SUMMARY JUDGMENT
             RE: CHERRY’S MOTION TO VACATE UNDER 28 U.S.C. § 2255

       The United States of America, by and through its undersigned counsel, moves this Court

to dismiss the Motion to Vacate under 28 U.S.C. § 2255 by Antonio Cherry (“Cherry”) or, in the

alternative, grant summary judgment, and files this memorandum in support of the motion to

dismiss/motion for summary judgment.

I.     BACKGROUND

       A.      Indictment, guilty plea, sentencing

       On July 20, 2005, an indictment was filed in the United States District Court for the District

of South Carolina charging Cherry with conspiracy to possess with intent to distribute fifty grams

or more of cocaine base (“crack” cocaine), in violation of Title 21 U.S.C. §§ 841(a)(1) and 846.

On November 30, 2005, Antonio Cherry (“Cherry”) pleaded guilty to the charge and on April 25,

2007, the district court sentenced Cherry to 120 months imprisonment and five years of supervised

release. Judgment was entered against Cherry on August 28, 2006.

       At the time of his federal sentence, Cherry was in state custody on unrelated charges. On
      3:05-cr-00651-MBS        Date Filed 10/19/16       Entry Number 877-1          Page 2 of 5




October 5, 2006, Cherry received a 20 year state sentence.1 ECF #730 Cherry has been held in

state custody, in the South Carolina Department of Corrections, from 2005 to the date of this filing.

Beginning in 2010, Cherry petitioned the court to allow his federal sentence to run concurrent to

his state sentence, which would effectively reduce his total term of incarceration from 30 years to

20 years.2 ECF #730, #839, #840, #870

        B.     Direct Appeal and Post - Conviction Motions

        Cherry did not appeal his conviction nor sentence. On September 19, 2016, Cherry filed

the pending motion, pursuant to 28 U.S.C. § 2255, to amend his sentence to allow him to serve his

state and federal sentence concurrently and to credit his federal sentence the time he has served in

state custody since the imposition of his federal sentence on August 28, 2006. ECF #874

II.     DISCUSSION

        A.     Cherry has failed to state a claim for relief under 28 U.S.C. § 2255, therefore
               his motion should be dismissed.

        A § 2255 motion’s scope “does not encompass all claimed errors in conviction and

sentencing.” United States v. Addonizio, 442 U.S. 178, 185, 99 S.Ct. 2235 (1979). A trial error

that is neither constitutional nor jurisdictional is cognizable under § 2255 only if it constitutes “a


1
 The state circuit court’s order (ECF #730, #839-1) that the state sentence run concurrent with
Cherry’s 120-month federal sentence had no effect because Cherry was in state custody.
According to the South Carolina Department of Corrections, Cherry’s projected release date is
April 2, 2022.
2
 Courts have long been understood to have discretion to select whether the sentences they
impose will run concurrently or consecutively with respect to other sentences that they impose,
or that have been imposed in other proceedings, including state proceedings. 18 U.S.C. § 3584.
In fact, in Setser v. United States, the Court clarified that federal district judges have authority to
direct that a criminal sentence be served consecutively or concurrently to a state sentence, even if
that state sentence has not yet been imposed. 132 S. Ct. 1463, 1470 (2012); 18 U.S.C. § 3584(a).
The Government does not oppose Cherry’s previously filed motions (ECF #730, #839, #840,
#870) to amend his sentence to allow him to serve his state and federal sentence concurrently.
The Government takes no position as to whether the amended sentence should be imposed nunc
pro tunc, as of the date the state sentence was entered or a later date.
                                                   2
    3:05-cr-00651-MBS          Date Filed 10/19/16       Entry Number 877-1         Page 3 of 5




fundamental defect which inherently results in a complete miscarriage of justice, [or] an omission

inconsistent with the rudimentary demands of fair procedure.” Hill v. United States, 368 U.S. 424,

428, 82 S.Ct. 468 (1962). Courts have consistently reaffirmed this principle. See, e.g., Brecht v.

Abrahamson, 507 U.S. 619, 634 n. 8, 113 S.Ct. 1710 (1993); United States v. Timmreck, 441 U.S.

780, 783–84, 99 S. Ct. 2085 (1979); United States v. Mikalajunas, 186 F.3d 490, 495–96 (4th

Cir.1999).

       Because Cherry does not claim that this court lacked jurisdiction when it sentenced him,

his claim is only cognizable if it alleges a constitutional error or a fundamental defect resulting in

a miscarriage of justice. Cherry can satisfy neither of these requirements. In fact, Cherry alleges

no constitutional error or violation at all during the pendency of his case before the court. His claim

is not actionable under § 2255, and should be summarily dismissed.

       B.      Even if Cherry’s claim was actionable, his motion is untimely.

       Title 28, United States Code, § 2255 allows a prisoner the right to move the court to

vacate, set aside, or correct the sentence on the basis that his sentence was imposed in violation

of the Constitution or laws of the United Sates. However, the Anti-Terrorism and Effective

Death Penalty Act of 1996 (“AEDPA”) provides a one-year statute of limitations period on the

filing of a § 2255. Under 28 U.S.C. § 2255(f), the one year period of limitation applies to any

motion filed under § 2255 and runs from the latest of:

               (1)     the date on which the judgment of conviction becomes final3;



3
 The limitations period begins to run from a later date only in circumstances not present in this
case: where illegal Government action prevented defendant from timely filing a motion, where
the Supreme Court recognized and made retroactively applicable to cases on collateral review a
new right asserted by defendant, or where defendant’s claims were supported by new facts that
could not have been discovered earlier through the exercise of due diligence. See 28 U.S.C. §§
2255(f)(2), (3), and (4). Cherry does not argue, nor is there any evidence, that any of the

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    3:05-cr-00651-MBS         Date Filed 10/19/16      Entry Number 877-1         Page 4 of 5




               (2)     the date on which the impediment to making a motion created by
                       governmental action in violation of the Constitution or laws of the
                       United States is removed, if the movant was prevented from making
                       a motion by such governmental action;

               (3)     the date on which the right asserted was initially recognized by the
                       Supreme Court, if that right has been newly recognized by the
                       Supreme Court and made retroactively applicable to cases on
                       collateral review; or

               (4)     the date on which the facts supporting the claim or claims presented
                       could have been discovered through the exercise of due diligence.


28 U.S.C. § 2255(f). “If a prisoner cannot fit his petition into the time frame specified by one of

these four categories, it must be dismissed as untimely.” United States v. Gadsen, 332 F.3d 224,

226 (4th Cir. 2003).

       If a defendant does not pursue a timely direct appeal to the court of appeals, his or her

conviction and sentence become final [for purposes of a § 2255 motion], and the statute of

limitation begins to run, on the date the district court enters judgment. United States v. Sanders,

247 F.3d 139, 142. (4th Cir. 2001). In this case, Cherry was sentenced on August 28, 2006, and

the Judgment was docketed on September 5, 2006. Thus, the limitations period to file a 28 U.S.C.

§ 2255 motion expired one year later, on September 5, 2007. Cherry’s § 2255 motion was filed

over nine years after his conviction became final. For the foregoing reasons, Cherry’s § 2255

motion is barred by the applicable one-year statute of limitations. 28 U.S.C. § 2255(f).

                                         CONCLUSION

       Based on the foregoing, the United States respectfully requests that this Court dismiss




conditions which, in essence, toll the running of the one-year limitations period are present in
this case.


                                                 4
    3:05-cr-00651-MBS          Date Filed 10/19/16    Entry Number 877-1        Page 5 of 5




Antonio Cherry’s motion to vacate his sentence or in the alternative, grant summary judgment as

the motion is without merit.

                                                     Respectfully submitted,

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October 19, 2016




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